Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 1 of 26

FILED

SUSTIE NT Ure agy
IN THE UNITED STATES DISTRICT COURT

fi
FOR THE WESTERN DISTRICT OF TEXAS QOUKY 13 py 2&k
AUSTIN DIVISION ii

WOMACK+HAMPTON ARCHITECTS,
L.L.C.,

 

Plaintiff,
CIVIL ACTION NO. A 01CAS5S91 JN

consolidated with

§
§
§
§
§
vs. §
§
§ CIVIL ACTION NO. A 02CA793 JRN
§
§
§
§
§
§

METRIC HOLDINGS, LTD.,
PARTNERSHIP, CHILES ARCHITECTS,
INC. and TRAMMELL CROW
RESIDENTIAL COMPANY,

Defendants.

DEFENDANTS CAI AND CHILES’ APPLICATION
FOR AN AWARD OF COSTS AND ATTORNEYS’ FEES

Defendants CAI and Chiles hereby move for an award of their costs and reasonable attorneys’
fees under 17 U.S.C. § 505. Inaccordance with Western District Local Rule CV-7(i), a brief memo
setting forth the legal and factual support for the actual calculation of fees and costs is filed
contemporaneously with this motion.

I, BACKGROUND FACTS'

Plaintiff Womack + Hampton Architects (“WHA”) is an architectural firm with principal

offices in Dallas, Texas. Defendants CAI and Gary Chiles (collectively “Chiles”) are an architectural

firm and its principal with principal offices in Austin, Texas. In or about 1997, WHA undertook to

 

' Chiles realizes that this Court is familiar with the facts made the basis of this suit. However, in the event that
Plaintiff appeals an award of attorneys’ fees, this motion provides additional support for such an award. Chiles refers
to arguments made in its Response to the Amended Report and Recommendation and its Response to the Motion to
Reconsider the Order Adopting that Amended Report and Recommendation and the Exhibits attached to those pleadings
for further support of the facts and argument set out in this Motion to avoid further burdening the Court with duplicative
argument and exhibits.

] K \DIR46\461 30\0 \PLEADING'Motion for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 2 of 26

provide architectural services to Defendant Trammel Crow Residential (“Crow”) in connection with
the design of a residential apartment complex in Houston, Texas named the Windfern. In the
Windfern Architectural Agreement, which was authored by WHA, (“the Agreement”), WHA
expressly permitted Crow to reuse the drawings of the Houston apartment complex, providing only
that in the event of reuse, WHA would be reimbursed by Crow a set fee per apartment unit (“Re-Use
Clause’) and further providing that if WHA was also the architect on the subsequent project, it was
not limited to receiving only the re-use fee but could also collect additional fees.” The Agreement
at section [X(B) provides:

The Owner agrees not to use, copy or cause to have copied, the drawings and

specifications prepared for this project in subsequent phases or other sites without

proper compensation to the Architect, which shall be based upon a mutually agreed

upon [sic] of $150.00 per unit (base architectural fee) plus contingent additional

hourly charges and expenses for plan modifications necessary to adapt these plans

and specifications to other sites.

On January 13", 1998, Crow sent a set of WHA’s schematic drawings from Windfern to
Defendant Chiles. Crow asked Chiles to begin the architectural design of an apartment complex
to be constructed in the Austin metroplex, which is now named “The Reserve at North Bend.” Crow
indicated to Chiles that Crow was permitted under the Agreement with WHA to let Chiles copy the
basic Windfern unit schematic layouts. Based on this representation, Chiles used the schematics

as arough outline for the vastly more complicated architectural plans for the Reserve at North Bend.

A review of the schematics is strong evidence as to why attorneys’ fees should be awarded

 

> See Exhibit A to Chiles’ Response to WHA’s Objections to the Amended Report and Recommendation.

> As set out in prior pleadings, schematics are basic outlines of apartment layouts and are wholly insufficient
to support construction of an apartment complex.

2 K \DIR46\46130\01\PLEADING\Motion for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 3 of 26

in this case. See Exhibit A, five pages of Windfern Schematics.’ These bare-bones schematics form
the entire basis of WHA’s claimed entitlement to more than $25,000,000.00 for copyright
infringement. The sheer effrontery in making such an inflated claim indicates that an award of
attorneys’ fees should be made to compensate Defendants and deter such actions in the future.

As the drafter, the existence of the re-use license was obviously well-known to WHA and
thus its only available cause of action was a state law claim for breach of contract for Crow’s alleged
failure to pay the re-use fee. ° Rather than limit itself to the amounts it was arguably entitled to
recover, WHA filed a baseless federal court case in hopes of recovering a vast amount--not the re-
use fee to which it was arguably entitled ($54,900.00) or even its damages and Crow’s or Chiles’
profit, recovery of which would have been quite unlikely under relevant precedent--but rather the
entire sales price of the completed apartment complex—an amount in excess of twenty-five million
dollars ($25,000,000.00).° Further, WHA’s dogged insistence that it was entitled to this full amount
and more and its refusal to consider on-point cases which established that its demand was
unreasonable made settlement literally impossible.’ Chiles notes that a Joint Offer of Judgment in
January, 2003 by the Crow Defendants of $110,000.00 was rejected.*

WHA also failed to diligently pursue its claim, causing Chiles to incur unnecessary attorneys’

 

* This exhibit has been repeatedly submitted and verified but its importance on this issue indicates that it should
be submitted again.

> WHA has never sought in this proceeding to recover a re-use fee and has expressly and specifically disavowed
any claim it might have had for breach of contract.

® Actually, at one point the requested damages was up to forty million dollars ($40,000,000) based on the gross
sale price of the Reserve at North Bend plus income prior to its sale, lost business from Crow for WHA, and interest.

7 That is, of course, unless Defendants were willing to offer $25,000,000.00, which they were not.

® See Exhibit B, Offer of Judgment.

3 KADIR46\46130\01\PLEADING\Motion for Atty Fees. wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 4 of 26

fees. It is uncontested that WHA became aware of Chiles’ review of its schematics no later than
September, 1998, prior to ground even being broken for the Austin project, and at that time WHA
agreed to accept a reuse fee of $27,450.00 for the use of its schematics, which WHA itself stated was
one-half of the previously agreed upon reuse fee.’ This is an obvious recognition by WHA that the
re-use agreement applied to Chiles’ use of the schematics. On October 8, 1998, Crow asked WHA
to waive the reuse fee in consideration of future business.’ After receiving this letter, WHA made
no further request for payment, made no objection to the re-use, and indeed remained wholly silent
on the issue until it filed suit almost three years later, long after the Reserve at North Bend was
finished and sold to a third-party. Had WHA objected earlier, the re-use fee could have been paid
or WHA’s objections could otherwise have been satisfied and this case could have been entirely
avoided.
If. PROCEDURAL HISTORY

This case was filed on September 7, 2001, approximately one week prior to the expiration
of the three year statute of limitations. Plaintiff's Third Amended Complaint and all of its previous
Complaints" set out its claims as follows:

This is an action for copyright infringement arising under the Copyright Act of 1976

17 U.S.C. § 101, et seg. and specifically the Architectural Works Copyright
Protection Act, as enacted on December 1, 1990.

 

° See Exhibit C to Chiles’ Response to WHA’s Objections to the Amended Report and Recommendation.
'° See Exhibit D to Chiles’ Response to WHA’s Objections to the Amended Report and Recommendation.

'! Plaintiff's Motion to File a Fourth Amended Complaint on March 3, 2003 (Doc. #231) was denied (Clerk’s
Doc. # 359) because by that time, the District Court had granted a partial summary judgment on damages and the
Magistrate Court had further recommended that three additional motions for summary judgment filed by the defendants
should be granted which would fully dispose of Plaintiff's claims. Those three Reports and Recommendations were
thereafter adopted by the District Court on April 18, 2003.

4 K \DIR46\46130\01\PLEADING\Motion for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 5 of 26

See Third Amended Complaint, § III. The Complaint further identified the causes of action raised
by Plaintiff in four counts as “Copyright Infringement,” “Inducement to Infringement,”
“Contributory Infringement,” and “Vicarious Liability” for the first three claims.”

This case was consolidated with a related Houston case on January 15,2003. On January 17,
2003, Defendants moved for summary judgment.” On February 19, 2003, the District Court adopted
the Amended Report and Recommendation of the Magistrate Court and granted Defendants’ Motion
for Summary Judgment on the issue of Plaintiff's damages. The Order reflects that the Court based
its dismissal on the existence of the express written license for re-use. (Doc. #304). On April 30,
2003, this Court entered a Final Judgment disposing of all of Plaintiff's claims.

Il. STANDARD FOR AWARD OF
ATTORNEYS’ FEES UNDER THE COPYRIGHT ACT

The Copyright Act provides that in a copyright infringement action a court may award a
reasonable attorney's fee to a prevailing plaintiff or defendant as part of the costs. 17 U.S.C. § 505;"4
Fogerty v. Fantasy, Inc., 510 U.S. 517, 533, 1148. Ct. 1023 (1994). In Fogerty, the Supreme Court
held that the inquiry should be an evenhanded, party-neutral analysis. Jd. at 525,n.12. Although
attorney's fees are awarded in the trial court's discretion, in copyright cases “they are the rule rather
than the exception and should be awarded routinely." Hogan Systems v. Cybresource Int'l, 158 F.3d

319, 325 (Sth Cir. 1998). The Fifth Circuit has consistently held that awarding attorneys' fees and

 

'? Third Amended Complaint, §§ V. -VIII.

'’ On Chiles’ motion (in an effort to avoid incurring additional fees), the court permitted Chiles to adopt this
dispositive motion.

'* “In any civil action under this title, the court in its discretion may allow the recovery of full costs by or

against any party other than the United States or an officer thereof. Except as otherwise provided by this title, the court
may also award a reasonable attorney's fee to the prevailing party as part of the costs.”

5 K \DIR46\46130\0 I\PLEADING\Motion for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 6 of 26

costs in copyright cases is not an abuse of discretion when awarded to the prevailing party.'°

The Fogerty Court highlighted a list of non-exclusive factors to guide the district court min
its determination whether to award attorneys’ fees, including "frivolousness, motivation, objective
unreasonableness (both in the factual and in the legal components of the case) and the need in
particular circumstances to advance considerations of compensation and deterrence/d. at 533 n.19.
Chiles addresses each factor in turn.

1. This Case was Frivolous

It is not required that the Court find that the case was frivolous to award attorneys’ fees
because even a non-frivolous case can support an award of attorneys’ fees.'° However, “when a
party has pursued a patently frivolous position, the failure of a district court to award attorney's fees
and costs to the prevailing party will, except under the most unusual circumstances, constitute an
abuse of discretion.”””

First, this case was frivolous because a re-use agreement drafted by the Plaintiff WHA
specifically covered the use and provided a remedy to WHA. There was no need for WHA to
manufacture a federal copyright case to receive appropriate compensation. Had WHA believed that
the license it had granted was violated a state court breach of contract case was the proper vehicle.

In addition, a review of relevant case law indicates that the wildly inflated damages request

was similarly frivolous. Even under the very best scenarios and even if a license had not existed, the

 

'S’ Bridgmon v. Array Systems, _ F.3d _, No. 01-10367, 2003 U.S. App. 5456 (5" Cir. 3/20/2003); Lyons
Partnership v. Giannoulas, 179 F.3d 384, 385 (5" Cir. 1999); Hogan Systems, 158 F.3d at 325-26, McGaughey v.
Twentieth Century Fox Film Corp., 12 F.3d 62, 65 (5" Cir. 1994).

'6 Matthews v. Friedman, 157 F.3d 25, 29 (1* Cir. 1998).

'7 Diamond Star Building Corp. v. Freed, 30 F.3d 503, 506 (4" Cir. 1994)

6 K\DIR46\46130\01\PLEADING\Motion for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 7 of 26

most a copyright infringement plaintiff can recover is damages attributable to the infringement plus
any profits attributable to the infringement not otherwise accounted for in the damages award." It
is obvious from even a cursory review of the schematics--in comparison with the completed
apartment complex--that no credible claim can be made that WHA was entitled to an award of
$25,000,000.00. Such a damages claim disregards established copyright law.

For example, in Davis v. Gap, Inc., 246 F.3d 152 (2d Cir. 2001), the Second Circuit
concluded that the appropriate amount of actual damages in a copyright infringement case when
infringement was established was “the fair market value for the use” of the copyrighted material.”
Id. at 166-67. In that case, Plaintiff sought damages of $12,500,000.00 for the use of his copyrighted
eyeglasses ina Gap advertisement. The Court rejected Davis’ “wildly inflated claim” and found that
the appropriate measure of damages was the “modest fair market value of the use made by the Gap,”
namely approximately fifty dollars ($50.00).”

2. The Motivation was Greed and Revenge.

WHA’s primary motivation in this case is obvious: to recover as much money as possible
and, even absent such recovery, to punish Crow for the reduced business WHA had received from
1998 on by forcing Crow to incur attorneys’ fees. The evidence shows that, despite being aware of
the infringement in 1998, WHA chose not to sue until 2001—when it was no longer being awarded
the architectural contracts with Crow it had received in the past. WHA’s expert’s damages model

makes it obvious that in some mysterious way WHA connected its reduced business from Crow with

 

'8 Johnson v. Jones, 149 F.3d 494 (6th Cir. 1998).

'? Davis, 246 F.2d at 161-64, See also Pfanenstiel Architects, Inc. v. Chouteau Petroleum, 978 F.2d 430, 432
(8th Cir. 1992)(awarding architect lost profits of $3,000).

7 K \DIR46\46130\01\PLEADING\Motion for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 8 of 26

the infringement. Such a connection is so farfetched as to amount to the absurd. Regardless, WHA
asserted the claim.

Chiles recognizes that a desire to recover damages forms the basis of most, if not all,
lawsuits. However, even a sincere belief that one has been wronged with no concomitant damages
does not justify the filing of a suit of this type and the resulting abuse of the judicial process.

3. This Case Was Objectively Unreasonable

Over the entire course of this case, WHA consistently stuck its head in the sand and insisted
that its version of events and theory of damages and its interpretation of legal precedent was correct
despite abundant evidence and precedent to the contrary. With respect to the reasonableness of
WHA’s position, this Court properly noted that WHA was the author of the Agreement at issue and
certainly was aware of its provisions. As set out more specifically in Chiles’s response to WHA’s
Motion to Reconsider, WHA’s illogical interpretation of the re-use agreement was combined with
an absolute refusal to even consider the meaning of the paragraph as a whole or consider specific
words that did not comport with its tortured interpretation. Such deliberate ignorance amounts to
objective unreasonableness.

Further, in October 2002, a Report and Recommendation was submitted which carefully
considered the claims and recommended that the District Court find the license agreement barred
recovery of copyright damages.” Even after this Report, WHA refused a settlement offer of twice
the re-use fee and four times what it had been willing to accept in September, 1998 ($110,000.00).

After the District Court adopted an Amended Report and Recommendation, WHA filed a

 

*° Due to the consolidation of the Houston case, the Report was withdrawn and resubmitted in essentially
unchanged form.

8 K \DIR46\46130\01\PLEADING\Moton for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 9 of 26

patently unmeritorious (and somewhat insulting to the Court) Motion for Reconsideration and also
filed additional dispositive motions which wholly lacked merit. The Fifth Circuit has held that a
plaintiff's insistence in making unmeritorious arguments is a factor a court should consider in
awarding attorneys’ fees.”!

As further evidence of objective unreasonableness, there was never any allegation of fraud
or other misconduct which would create individual liability for a corporate officer. Regardless, in
March, 2002, WHA sued Gary Chiles individually (and numerous other Crow-related individuals).
This suit was some three and a half years after its initial discovery of the re-use of the schematics and
well after the statute of limitations expired as to Gary Chiles.

Chiles requests that this Court take judicial notice of the sheer mass of superfluous and
unreasonable motions filed by WHA--which regardless of merit required responses by Chiles.
WHA’s conduct during this litigation in filing numerous repetitive and unnecessary motions and
cross-motions unreasonably increased the attorneys’ fees incurred by CAI and Chiles. Chiles asks
that this Court note that every response by WHA to a dispositive motion contained a cross-motion
for summary judgment, even though it was obvious that the cross-motion was filed for a retaliatory
motive, entirely lacked merit, and often skirted the bounds of (or even violated) Fed. R. Civ. P. 11.

4, An Award Advances Considerations of Compensation and Deterrence.

An award in this case promotes fairness. WHA retained its attorneys on a contingent fee
basis, therefore it may well have believed it had “nothing to lose” even if it did not prevail. By

contrast, the attorneys’ fees necessarily incurred in Chiles’ defense had to be paid even though Chiles

 

*! Lyons Partnership, 179 F.3d at 388, n. 5.

9 K \DIR46\46130\0I\WPLEADING\Motion for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 10 of 26

ultimately prevailed.” Counsel for WHA apparently (and incomprehensibly to Chiles) believed they
had a “tobacco case” on which they were going to retire. Their unwillingness to even discuss a
settlement unless the offer was in the multi-million dollar range unreasonably prolonged this case
and unreasonably increased the defense fees and costs.

5. Amount of Requested Award

As set out in the Brief in Support of an Award of Attorneys’ Fees, the total attorney hours
expended in this case through March 31, 2003 are 887.3 hours and the total paralegal hours are 74.4.
As reflected on the detailed billing statements attached as an exhibit to the Brief, the total attorney
and paralegal fees charged and paid in this case through March 31, 2003 are $213,201.00

Based on the foregoing, Chiles requests that the Court find that the method by which the
attorneys’ fees were calculated in this case is reasonable and correct. As further set out in their brief
in support of an award of attorneys’ fees and costs, Chiles further requests that they be awarded its
reasonable and necessary costs of $8,129.93 for a total award of $221,330.93

IV. CONCLUSION

An award of attorneys' fees to Chiles and CAI is appropriate because WHA’s claim was
frivolous and unreasonable. WHA wholly ignored the fact that there was an express written license
that permitted the reuse of the schematics and failed to recognize that even if it had somehow
established infringement, its damages were minimal. Based on the foregoing, Chiles are entitled to

recover their reasonable and necessary attorneys’ fees and costs.

 

22 Chiles notes that they were partially protected by an indemnity agreement, however this was not true at the
time suit was filed and was regardless not known by WHA. Such coverage was not attributable to anything WHA did
or did not do.

1 0 K:\DIR46\46130\01\PLEADING\Motion for Atty Fees.wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 11 of 26

Respectfully submitted,

FRITZ, BYRNE, HEAD & HARRISON, L.L.P.

By: tLé ‘

Rick Harrison (/
State Bar No. 09120000

Michelle F. Wakefield

State Bar No. 00786319

98 San Jacinto, Suite 2000

Austin, Texas 78701

Telephone: (512) 476-2020

Facsimile: (512) 477-5267

ATTORNEYS FOR CHILES ARCHITECTS,
INC. and GARY CHILES

 

CERTIFICATE OF CONFERENCE

Pursuant to Western District Local Rule CV-7(i) the undersigned certifies that a conference
in accordance with the requirements of the rule was held on May 9, 2003. Chiles provided this
application for an award of attorneys’ fees, the brief in support, and all attached exhibits (which
included the detailed billing records) to counsel for Plaintiff WHA (Tom Sankey) on the morning
of Friday, May 9, 2003--well in advance of a conference call scheduled by agreement of the parties
for 4:00 p.m. that day. Despite Chiles’ effort, Mr. Sankey participated in the conference call on his
cell phone as he navigated Houston traffic during Friday rush hour, and he admitted that because he
had not been in his office all day Friday, he had not reviewed any of Chiles’ billing records or other
documents prior to the conference call. This admission rendered the call virtually useless because
Mr. Sankey would not stipulate to information he had failed to review.

On May 12 at 4:48 p.m., counsel received a faxed letter directed to counsel for Crow.”* In

 

3 Exhibit C.

11 K \DIR46\46130\0]\PLEADING\Motin for Atty Fees wpd
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 12 of 26

that letter, Mr. Sankey indicated he did not believe there was a basis for an award and that he

believed the hours expended by counsel for Chiles were excessive. However, he did agree that the

hourly rates charged by Chiles’ counsel as set out in the Brief were reasonable.

CERTIFICATE OF SERVICE

I hereby certify that on the 1g" day of May, 2003 a true and correct copy of the foregoing

document was served on the following:

Via Certified Mail Return Receipt Requested

Mr. Greg Luck

Ms. Amy Hawk
Sankey & Luck

600 Travis, Ste. 6200
Houston, Texas 77002

Via First Class Mail

Mr. Richard D. Yeomans

Graves, Dougherty Hearon & Moody
515 Congress Avenue, Ste 2300
Austin, TX 78701

Mr. John P. Cahill, Jr.

Stanton M. Childers

HAYS, McCONN, RICE & PICKERING
400 Two Allen Center

1200 Smith Street

Houston, Texas 77002

12

Rick Harrison

K ADIR46\46130\0 \WPLEADING\Motion for Atty Fees wpd
_ . CAsé T:01-2V-50591-IRN~BoCurrent 386° Filec-08/48/03 Page 13 of 26

Woumack+Hampton

Architectural Jeint Venture

intr Ree a=
a" Ss wae

   

\

FAX TRANSMISSION
COVER SHEET

DATE LIB GR
To: Be Buzbee
COMPANY: LCE

FAX. NO, 210:-4-79-Ge10

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL NUMBES? OF PAGES IN THIS TRANSMISSION Ame], INCLLOING THUS SHEET.

F TESE SeTS Ane
Fee SADER AT Gd) Too AS INDICATED ABOVE, PLEASE CONTACT —
EXHIBIT

1A
2+ s-Case 1:Q26v-0059dJRAk BocumMentsse : Fited®s/63/03 Page 14 of 26

147900 HO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

sete, JEP Rp y ay
NOLAWVH+NOVHOM op wepyrey Morr) ours.)
L661 'E] saBny COLE “ON Qoe
SLNIWLUVdAY NUAINIA
TOUBIE HOV LOOd HUVIIOR LIN}
0 0 0 wmapjtyag ~~*|
o 0 0 sD
0 a oO shea
Doo's coos fo novesos yer]
- SVAMV AUVTE
TIO TIE 556 ere wol SIVLOL wz
Ore ie OLE T ts HE'S Hivadztaeaat) 15 ’
POP PL vt | ot KEL AGNI Alva I mudazy] 1-7 z
9Lr'OD coll ts %6'S1 HLva trresosr| 7a ?
yZC're 656 % nO HLVd URGE TF 18 9
TSVI9 ett ou HET HIVa bavsdgit = rv 0
TIS io: tee HS'CZ THLVB t anidd | iv 9
WLOL AS LEN; ‘ON * NOi Lao sag xv x
WVHSOUd AWVNINI Ta wd AL

 

 

 

 

 

 

 

 

 

 

 

 
.. .Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 15 of 26

        

“LEER

UNIT cl ARBA »= 1570 SP.
ata .

Womack+Hampton WINDPERN,

 

Arohitectural Joint Venture OL
=" SSR ER TELL COW PERE,

CH 00628
- 2€ase 10decv-0059+-8RN- Bocurnent 386 > Fited"03718/03 Page 16 of 26

    

LNIT CA area nist a.
nye.

S8tt Ae hep Pe LY)

Womack+Hampton WINDPFERN,

Arahtteatural Joint Venture AumeE CRT
=* 2c OU 'KSRES ‘eee, Ganw SeioernTs.

CH 00629
'~i 30 ese 5:Qirev-0

1
ULibwti hare

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LIVING
coment

ATIO

 

 

UNIT B2.|

LTS

*

Womack+Hampton

Arohitectural Jeint Venture
=” Sass %SEite

O58Ried RR Trew euUNGeNnt BBs bilepeOedi3/03 Page 17 of 26 ek

vane -

DINING

 

 

 

 

 

 

1894 SF.

(PINST FLOOR OLY)

 
1 sCase bGLCV-0059TIRN: Bocuitient 386° 'Fitect’US/T3/03 Page 18 of 26

wea

 

| | 886 90. PP.
TS. SECO AO THE MLOCES Ort.77

Womack+Hampton WINDPERN,

ArohHecturs! Joint Venture a
=" Btw ‘sath TRARAELL CROW RECLOENTAL

 

 

CH 00631
(-13-@asé £:627V-00O5OHoIRM ' Posurentese:' FtedBS/4B/03 Page 19 of 26

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UNIT Al 670 SF.

RECO NE DR FLOORS OY)

Womack+Hampton WINDFPERN.

Architectural Jolnt Venture A COMET
=" S225 ‘Sie TRRMEELL. CRLTW TEREINNTLAL

 

CH 00632
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 20 aFeE 2)

=| , .
ATL fy
En
IN THE UNITED STATES DISTRICT COURT 2 abn, bs
FOR THE WESTERN DISTRICT OF TEXAS OM tte
AUSTIN DIVISION
WOMACK+HAMPTON ARCHITECTS, §
LLC. §
§
Plaintiff, §
§
VS. § CIVIL ACTION NO. A 01-CA-591 JRN
§
METRIC HOLDINGS LTD., §
PARTNERSHIP, CHILES ARCHITECTS,  §
INC. and TRAMMELL CROW §
RESIDENTIAL COMPANY, §
§
Defendants. §
JOINT OFFER OF JUDGMENT

COME NOW Trammell Crow Residential Company, TCR Operating Company, Inc., Metric
Holdings Limited Partnership, TCR Metric, L.P., South Central RS, Inc., TCR South Central, Inc.,
TCR South Central 1995, Inc., TCR South Central Division L.P., TCR Metric Construction Ltd.
Partnership, Robert Buzbee, Lewis Bunch, Kenneth J. Valach, Perry Wilson, Chris Wheeler and J.
Ronald Terwilliger (collectively referred to as “Trammell Crow Defendants”) and pursuant to Fed.
R. Civ. P. 68, make the following Joint Offer of Judgment in this action.

I. Joint Offer of Judgment

The Trammell Crow Defendants offer to allow judgment to be taken against them jointly
by Plaintiff in a total amount of $110,000.00, inclusive of costs and attorneys’ fees accrued,
which is apportioned among the various Trammell Crow Defendants as follows:

Trammell Crow Residential Company: $7,338.00
TCR Operating Company, Inc.: $7,333.00
Metric Holdings Limited Partnership: $7,333.00

TCR Metric, L.P.: $7,333.00
EXHIBIT

1B

South Central RS, Inc. $7,333.00
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 21 of 26

TCR South Central, Inc.: $7,333.00

TCR South Central 1995, Inc.: $7,333.00

TCR South Central Division L.P.: $7,333.00

TCR Metric Construction Ltd. Partnership: $7,333.00

Robert Buzbee: $7,333.00

Lewis Bunch: $7,333.00

Kenneth J. Valach: $7,333.00

Perry Wilson: $7,333.00

Chris Wheeler: $7,333.00

J. Ronald Terwilliger: $7,333.00

This Joint Offer of Judgment is contingent upon Plaintiff accepting the offer as to all

Trammell Crow Defendants. Plaintiff may not accept this offer as to some, but not all, of the
Trammell Crow Defendants. Acceptance of this Joint Offer of Judgment precludes any
subsequent claim by Plaintiff against any of the Trammell Crow Defendants for costs or

attorneys’ fees.
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 22 of 26

Respectfully submitted,

GRAVES, DOUGHERTY, HEARON & MOODY
A Professional Corporation

515 Congress Avenue, Suite 2300

P.O. Box 98

Austin, Texas 78767

Telephone: 512/480-5600

Telecopy: 512/478-1976

By. cad bree

Richard D.{Yeomans
State Bar No. 24030014
W. Reid Wittliff

State Bar No. 00791951

ATTORNEYS FOR THE TRAMMELL
CROW DEFENDANTS

CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing Joint Offer of Judgment was sent to
the following via certified mail, return receipt requested:

Gregory M. Luck, Esq.
Sankey & Luck, L.L.P.
600 Travis Street, Ste. 6200
Houston, Texas 77002

Timothy N. Trop, Esq.

Trop, Pruner & Hu, P.C.

8554 Katy Freeway, Suite 100
Houston, Texas 77024

Richard Harrison, Esq.

Rick Harrison & Associates

100 Congress Avenue, Ste. 1550
Austin, Texas 78701

on the qr day of January, 2003.

Nevweid bernie 2

Richard D. gomans
nay I2-ud uN U4:48 FP
Case 1: On

oot WYtbument 386 FilSAXON 3/4822 Aue 23 of 26 P. Ul/us

SANKEY & LUCK, L.L.P.
6200 CHASE TOWER
600 TRAVIS
HOUSTON, TEXAS 77002
(713) 224-1007
TELEFAX: (713) 223-7737

TELEFAX TRANSMITTAL COVER SHERT

DATE’: May 12, 2003

TO: Richard Yeomans
Graves, Dougherty, Hearon & Moody

Fax fo.: (S12) 480-5845

FRO. 1: Thomas W. Sankey (3512)

NUMBER OF PAGES, INCLUDING COVER PAGE: 3

CLIL NT AND MATTER: WOMA:007 (3512)
DOCUMENT(S) SENT: Correspondence dated May 12, 2003

MESSAGE

 

CONFIDENTIALITY NOTE

The da uments aceompanyiug this facsimile transinivsion contain confidential or privileged information from the law firm: of Sankey & Luck,
LLP. She information is intended to be only for the use of the individual or entity named on this transmiysion sheet. [fyouare not the intended
reeipie. *, be wivere thal any discloyure, copying, dixtribution or use of the contents of thiy faxed information is prolribited. Ifyou have received

this fax inile in ercor, please notify us by telephone Immediately so thatsve can arrange for the retrieval of the origital dacuments at no cost
fa you.

CC, Mr, Rick Harrison Via Fax (512) 477-5267
Mr, John P, Cahill, Jn. Via Fax (713) 650-0027

 

05/12/03 MON 16:54 [TX/RX NO 7426]
HAY-12-03- HON, 94548. PlbosSANK¥nk lWGkument 386 FilBADSOLSMIa2202RB7 24 of 26 P. 02/03

SANKEY & LUCK

A Registered Limited | iabilily Partnership
ATTORNEYS AT LAW

6200 Chase Towe:
500 Travis * HOUSTON

Hoayston, Texas 77002

‘ae Telephone 713-224-1007
THOMAS W. SAP KEY Facsimile 713-223-7737

taankey@sankey; ick,com www. gankeyluck.com DALLAS

May 12, 2003

Via fac. imile (512) 478-1976

Mr. Ric hard Yeomans WOMA:007
Graves Dougherty, Hearon & Moody

515 Congress, Suite 2300

Austin, Texas 78701

Re: Cause No, H-02 2937; Womack+Hampton Architects, L.L.C. vy. Trammell Craw
Residential, et al.; In the United States District Court for the Southern District of
Texas, Houston Division

Gentk men:

Th response to your telephone call on Friday afternoon, pursuant to Local Rule CY-7, the
Plain(i{f has the following response:

1. Plaintiff does not believe that there is any statutory or legal basis for an award of
attorneys’ fees to the Defendants;

2. Even if there were a statutory and/or legal basis for an award for attorneys’ fees, fees
are not to be awarded to Defendants in a copyright infringement case without a
showing and finding that the case was frivolous and brought in bad faith. This
obviously is not the case:

3. Without reviewing the motion and all backup documentation, it is difficult, if not
impossible, to attempt to resolve “all disputed issues” relating to requested attorncys”
fees;

4. The only information we have been provided by the Crow defendants is that thcre

were five attorneys with rates ranging from $175 {o $325 an hour that billed
approximately 3,000 hours. We have received no motion and/or backup
documentation. Without additional information, we cannot agrec that the rates and/or
lime are reasonable;

5. We have received no infortnation from SBT Architects, Inc.;

te

05/12/03 MON 16:54 [TX/RX NO 7426]
TIAY=12-03 HON O4*48 PN, ocSMKEYRAVLUBK cument 386 FRAN NE BIC@23Pe 25 of 26 © P. (03/03

Mr. Richard Yeomans
May 17, 2003
Page -

6. At this time, we have only received a motion and documentation for the Chiles
defendants. While the rates appear to be reasonable, the amount of time spent on the
matter by a “me too” defendant who was fully indemnified seems extremcly
unreasonable, Additionally, it appears that no elfort was made to segregate out
matters unrelated to the defense;

7. The costs summary received today appears to include many expenscs which are not
recoverable as costs, As such, Plaintiff opposes said request.

Without additional information, it is impossible for the Plaintiff to analyze the Def endants’
reque: jed fees. The Defendants motions are opposed,

Very truly yours,

Cy Cd on
Thomas W. Sankcy

 

TWS' 2p

cet Mr, Rick Harrison
Mr. John P. Cahill, Jr.

HAW SIADATA\WWOMA\O07\Carrespondence\¥comuns.004 wpd

05/12/03 MON 16:54 {[TX/RX NO 7426]
Case 1:01-cv-00591-JRN Document 386 Filed 05/13/03 Page 26 of 26

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

NOTICE OF DOCUMENT(S) NOT IMAGED
AND CONTAINED IN EXHIBIT FOLDER
Civil Case No. A-01-CA-591
WOMACK+HAMPTON ARCHITECTS
VS.

METRIC HOLDINGS, et al

Attachments to

Document #: 386

Description: Defendant CAI and Chiles’ Application for
an Award of Costs and Attorneys’ Fees

Filed By: Defendants Chiles Architects & Gary Chiles

File Date: 5/13/03

 

DEPUTY CLERK
